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                                  UNITED STATES DISIR ICT COURT
                                                                 r                                    ==H
                               SOUTHERN DISTRICT OF FLOIUDAED BY- cpu.                            D.C.
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 UNITED STATES 0F AM ERICA                                                    ANGjLAE.NOBLE
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                                                                                             , I...
                                                                                               B
                                                                         CA SE N O : 23-80101-CR-CM NON
           VS                                                             M OTION TO CHA LLEN GE
                                                                          GM ND JURY AND TO
                                                                          DISV SSINDICTM ENTIS)
 D ON A LD J.TRU M P                                                      PUR SU AN T TO
                                                                                 F,K CRIM .P.
                              /                   )                       6(b)(1)yklfll6(b)(2)
                        LEAVE TO FILEAM ICUS CURIEA BRIEFING OFA
                   M OTION TO CH A I,LEN GE GR AND JURY A N D TO D ISM ISS
                INDICTMENTIS)PURSUANTT0 F.R.CX M .P.6(b)(1)AND 60942)
 INTRODUCTtON:
        COM ESNOW ,FRANK EDW IN PATE,REQUESTING LEAVE forthefollowingmotion to
 be GRANTED. The FirstAm endm entand Suprem acy Clause supportsa citizensright dç...to petition

 thegovernmentforaredressofgrievances''FirstAmendment;ArticleV1cl.3j.Therefore,PATE
 respectfully enters this m otion requesting leave to file am icus briefing on the outlined motion to

 challengetheGrand Jury andDismissthelndictmentts)asprovidedbyF.R.Crim.P.Rule6(b)(1)and
 Rule6(b)(2)baseduponthefollowinggrotmds:
        Asan initialmatter,thisCourtis Constitm ionally and statutorily established,pursuantto Artic.

 lIIsec.2,c1.1andActsofCongress.Any and allactionstaken - by any federalcottrt- are limited by

 Congressional Act's govem ing the functions of al1 crim inal process.Further,Article IIl provides

 Judicial Pow er w hich - by w ay of stam tory grants - which lim its anv Plaintiffs accessibility to

judicialpowers.reliance'sand relief. And so, judicialaccessibility shallonly beforthepurposesof
 obtaining redress- a repairto som e actual



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    Injury incurred by Plaintiff; tllisisthe wholereason ofany ArticleI1lcour.
                                                                             t.RedressoflegalInjury
    causedbyadefendant.lnjurycaused-against-theUnitedStatesGovernment.
           Rule 18 ofF.R.Crim.P.Rules,relies'on Article 111,sec.2 cl.3 by governing Constitutional

    adherenceto venueprotectionl.Thisisrequiredfora1lGrand Jtlry tandTrialJurylfunctions.4n.'5thand
    6*Amendmentprotectionsaddressthe snm e concem s. W ithoutrigid adherencetoArticle111,18 U SC

    3041,and The BillofRightsprotections,then any Grand Jury isillegally drawn. To presentcriminally
.
    charged allegations to a Jury (Grand/petit),the United States mustpresent a Rule 3 Complaint,
    revealing an oflknsets)againstthe Government- orspecifically in thismatter,oneofit'sgoveming
    agencies,withlegislativeauthority- which wasinjtlred bythealleged criminalconducts. Lacldngin
    such concreteclaims,thePlaintif lacksGlstandinf', asrequired tmdertheU.S.Constitution,and the
    Gtcase''ortGcontroversy''doctrine ofArticle111,sec.2,cl.1.

           Gtstanding''     necessary to file an Article II1 authorized, crim inal lawsuit - is only
                                                    '
    .

    constitm ionally permissible when theplaintiffhasestablishedjusticiablehnrm,directly cpnnected to
    criminally prohibited conducts.In other-words,acriminally prohibited tioflknse'',or- injuryinfact-.
    W hen comm encing federalCriminalsuits,18 U.S.C.3041 is the GG atekeeper''.Congressionally,this

    protectsthe uninform ed from exposureto overreach,by federalgovernm entox cials.Congress- under

    Article 11Ilimitations- was/is granted the authodty to t&ordain and establish''the çGinferiorcourts''and

    requirethatlegislative/constimtionallimitationsin the exercise ofArticle lI1and Articlelpowers, be

    strictly adhered to. Such design by the fotm ders prevents usurpation's of Judicial and Legislative

    authority, protecting againstseparation ofpowersviolations.And therefor: *'Federalcourts are courts

    oflimitediurisdiction.''(Kokkonen.v.GuardianLifeIns.Co.ofAmerica,511U.S.375,377,
                                                                                   .114 S.Ct.
    1673,128L.Ed.2d391(1994)).
           Judicialpower shallonly be accessed upon a valid legalcomplatntclaiming that a....anv
    offense against the United States-.'' (3041 opening Iinelpwas committed; and the defendant
                                                        2
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 committed itwith criminalintent,(mensrea requirementSee:4thAmend.Guarantees). Laclcing such
 claimts),theA/USA - in violation ofArticleIIIandArticle11limitations- tGranared lighf',into this
 courtforum,resulting in a Fatally Flawed Indictmentts)VOID ofArticle l11authority. The United
 States - by record - lacks the Gtstanding''necessary to bring suit againstDonald J.Tnzmp. ltwas

 completely unlawfulfortheA/USA to bring criminalaccusationsagainstTRUM P,forconductwhich

 the D.O.J.lacked any regulation orPolice powersover.W hy? Any PresidentsDutyO ghtto aassure

 tkelawsqfthe United Statesarefaithfullvexecuted'' (Art.11sec. ),isSupremeLaw tmderArticle
 Vl'sSupremacy Clause.In no way,wasany such righteverexceeded by TRUM P,thru hisactions.In

 fact such Comm and from Article 11 is a lifetim e obligation,for any President ofthe Urlited States.

 N ationalSecudty Intelligence,mustalw aysbe keptin confdence by any President;incum bentorEx.

 President.

        And so,a11processtaken by SpecialprosecutorJack Smith,-in avoidance ofthethreshold to

 courtpowers-(18 U.S.C.3041),pastthePointoftheIndictmentts),caused DonaldJ.TRUM Pto be
 illegallyarrested/releasedpendingtrial(which 18USC 3041et.seq.ClearlyGoverns), in violation of
 theUnited StatesConstitution.    ln sum m ary: AlIprocessisthereforVOID.A Legalnullity from

 the inception.

                                 HISTORY TO THE CHALLENGE

        W hile this courthas likely review ed many motions for the errency of the process,the 11*

 Circtlit has yetto hold that the Indictm ent and charges are lawful, tmder 28 U .S.C. 1291 ddFinal

 Decision''standards.Thiscourt- northe 11th- haveyetmeettitisjudsdictionalchallenge,forithas
 neverbeforebeenpresented.N eitherbyprosecution,defendantscotm sel,northecourtsthem selves.

       Underthetimetested Glcase''orGtontroversy''doctrine,(govemingthetesting ofany matterof
 1aw in controversy).Federalcourtsare only authorized to resolve matterswhich aflkctlegalrights,
 belonging to the Plaintiffstanding before the court,Donald J.Tnzmp,held docum entswhich belonged

                                                 3
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to FederalGovernm entagencies,ofwho,PRESENTED them to PresidentDonald J.Tnzmp.Those

 Agency Heads,stillHold fullauthority and responsibility forthosedocllmentswhereabouts.

       TheUnited States GovernmentExecutive'slegalrightto Police any Presidentisnotestablished

 within the Constitution,Yetltistory reveals thatPresidentDonald J.Trump,as 45th Presidentofthe

 United States,wasunconstitutionally tand continuously)subjectedto such Policeactionsdtlring (and
 post) his Presidential Office. By fact, why is this prosecution most preferred now? Because
 Impeachm enttheakics are notavailable to the W ashington,D.C.,&r eep State''. History shows that

 past Presidents have subjected this country to war without the Attom ey Generals Oftke ever
 intervening.For such authority isany Presidentsright.W hy? A Presidentholds knowledge,ofwhich

 DOJoffcialswillneverhave;tnzthfully tlzisdrivesmen/women - who seek poweroverothers- crazy

 with envy.This fact is proven by history of civilizations past,not excluding the United States of

 Am erica.

       ln orderfortheUnited StatesGovernm entto presenta concretelegally protected right- before

 the court,foradjudication pupose- would require actual,cogrlizable legalevidence ofa ûErightto
 police'', the m atters ofPresidentDonald J.Trum p.His responsibility towards the 45t
                                                                                    h Presidential

 term of oftice....tand beyond,for State secrets must be kept by him untilhis naturaldemiselis
 unimpeachable. None ofTrumpsExecutive actions noted,are witllin the Police powersofthe DOJ.

 And accordingly,protectionsafforded to him whilein the ox ce- overArticle 11duties-do notvanish

 when he leavesthe oY ce.He isby Constim tionalOath,botmd to protectthe Urlited States security

 secrets(heknows)forhisentirelife. Donald J.Trump wllilein offke,held the authority to decide
 Fhat is a m atter ofnationalsecurity and whatis not.Thatdecision capability cannotcease when he

 leavesoffice. And sotherewasneveraltcase''to bem adeto thisDistrictCourt.

              DONALD J.'
                       TRUM P as President and Comm ander in Chief over the Uzlited States,

 exercised tttothebestofhisabilitf',hisExecutivejudgmentoverday-to-day matters,which theDOJ
                                                4
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 neitherregulated,norConstitutionally heldlegalpoliceinterestovertsee28CFR 0.34).Remember,the
 D .O .J.w orks-prthePresidentialoffice,(orperhaps,forsomeoneelse?). ln otherwords,theUzlited

 States Governm ent- northe çnublic nationalsecuri;v interest'-were evernegatively aflkcted in the
 manégement,adm inistrative,ornationalsectlrityprecautions,taken by Donald J.Trump.

 Jack Sm ith,by the Indictm entconcedesthisfact. Accordingly,theUnited States Governm entlacked

 any legalbasisto bring any suitfor Grelief'.TheDOJ in reality,sitsbelow the oë ce ofPresident.The

 duty to the enforcing allRule ofLaw,isthe Presidentialox cesduty.Any copies ofmatedalsheld by

 Trump, arè still in original folnn, within their respective Departm ent OG cials Offices. For such

 docum entsoriginated from theExecutiveOx ces,below thePresidentialOffice,held by TRUM P.

       In orderto arrestTRUM P,thegovernm entm ustbring a legally sufficientcomplaint,pursuantto

 FederalRulesofCriminalProcedureRule3. A M agistrateJudge,then could have alawfulGrand Jury

 drawn againstTRUM P (which isto occtlronly awhen tltepublic interestso requires''.pursuantto
 FederalRulesofCriminalProcedure Rule (6)(a)(1)&(2)). The governmentwasrequired toproveto
 this courtthat a NationalSecurity violation .actually occurred as an aoffense atainst tlte United

 States''.thismandate isnecessary pursuantto Article I1I's GGcase''requirem ent.HypotheticalN ational

 Secudty Concem s, dem onstrate a hypothetical tGcase''. For the governm ent to present - an active

 ûicase''or GGcontroversy'',the governm entmustgrip a lawfulrightto exercise police poweroverthe

 PresidentoftheUnited States.DonaldJ.Trllmp,prom ised hisprotection ofthe Urlited Statespeople,in

 relianceon hisConstitutionalOath ofOx ce(ArticleVIc1.3). Simply stated,anyExecutiveAttomey
 lackedjusticiable- constitutional- basisforprobablecause(Gtstandinf'),tobringthesemattersbefore
 a
 I
   nyArticle1Ilcourt.lnfact,JackSmithhasjeopardizedNationalSecuritylnterestsintheprocess.The
                                                   .
 I

 Attorney General's Office, held neither Constimtional (nor Statutory) authority to police the
 adm inistrative ornationalsecurity actionsofDonald J.Tnzmp,...Am erica's,45thPresident.Even after

 his tenn of office. The President and Comm ander in Chief was legally exempt from the Attorney

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 General's intrusion into his N ational Security concerns, over the safety of Am erica people and

 A m ericasassets.

         So,in the fam ous words of Suprem e CourtJustice,Antonin Scalia,GGWhat:
                                                                               v itto vt?z/'57 The

 governmentlacksjusticiablebasis,to bring the necessaly judicialcomplaiilt(Ru1e3) (much lessan
 indictment),againstDonald J.Trtunp.Tothepoint,begsthequestion:GtW hywastheAttorney General
 -
     really - seeking acontroversy in the Executive afairsofapast-president,(instead ofthe Current
 JosephR.Biden)revealingcleareFortstocriminalizeTRUM Pandhisactions?
         W hen TRUM P held onto the docllm ents in question,he was authorized to do so.In fact,such

 documents were presented to PresidentTRUM P,by hisAgency Departm entheads.Those vczrv same

 department heads failed to retrieve the documents which thev dispensed to FAUAV and wcrc

 responsible for the documentssqfep.vetno otherExecutive qf/zc/tzl,&are charged in these matters?
 Those Departm ent heads failed in their continued duty to seclzre these very docllm ents of concern?
 j                          #
 Thisis very telling;very.To be noted:PresidentTlump,also leftthe W hite House with many other

 docum ented facts,wllich ttpotentially'' endanger the United Sàtes National Security......and tltose

 documents ex//inside /19 mind.to tkis vcrp dqv.(The same holds true for Obama and Bush and
 Carter).So the realimportantquestion is::1Do we actually trustany Presidentafter he leaves the
 PresidentialOflke?''AnyPresident,...includingJosephR.Biden?tThisprosecutorialethos,borderson,
 nay..,reeksofparanoia.Thisistellingofaverytroubledmind)
         Jack Sm ith intendsto crim inalizeDonald J.Tnmp ,the 45thPresident,and Comm anderin Cllief

 ofthe United StatesofAmerica,forTRUM P protecting docttm entswhich were never retrieved bv the

 Dcpcrrvlcnfheads.who delivered thosevcrpdocumentsto him .DONALD J.TRUM PS dutiesto sectlre

 nationalsecurity did not cease the mom enthe left office.He - as do al1 prior presidents - holds

 information inside hismind,wllich ifexerted maliciously,could bring greatharm to nationalsecurity.

 (Look atcurrentafrairs under Joe Biden,with his son Hunter Biden's Chineser kraine business
                                                  6
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 dealings? Docum ents in the Garage in Delaware,behind the Corvette;Docmnents atUniversity of

 Pennsylvania;athisAttorneysoffice.Yetno form alchargesarebeing m adeagalstBIDEN becausehis

 M indisbrokenbeyondrepair?..sosaysthesameD.O.J.)
        The U.S.Attorney's oo ce exceeded constimtional and stattltory authority,and efectively

 weaponized the limited jtlrisdiction of allArticle I1I court,in violation ofArticle 11 ofthe U.S.
 Constitution. TheU .S.A'
                        ttorney'sclaim sin theIndictm enttellall.

         Allegedly,TRUM P,acting in his capacity as President and Ex-president,possiblytmaybe)
 comm itted crime's againstthe United States wltile effectively accusing Donald J.Trump of a non-

 offense azainst//le United Statesi but an allezed offense azainst the United States. This begs

 incredulity.



                                         ISSU ES OF LAW

        Article III federal courts are only imbued w ith the limited authority vested to them by

 Congressional legislature,em powered by and under Article 111, sec.2, cl. 1 of the United States

 Constimtion.Thedesignto avoid Judicialtransgressionsinspiredthe ContinentalCongressto lim itthe

 ExecutiveBranch'saccesstojudicialauthority.Since June 25,1948, theExecutivebranch hasbeen
 strictly lim ited in accessing such Judicial Power, by way of 18 U.S.C.3041. This governs the

beginning(arrestandpetainingpendingtriallofCriminalDueProcess,possibly leadingany Defendant
 intoaJurytrialprocess.(see:Rules2-5.1ofFed.Cr.RulesltsupervisoryandPreliminaryRules)
        Yet,this Districtcourtproceeded with Grand Jury investigations,in directavoidance ofthese

limited Judicialpowers,govem ed by statutory lim itations.Since 18 U SC 3001 requires Rules that

GoverntheCriminalprocess;Since18U.S.C.3041tandRule3) restridsthecourt'sabilityto extend
judicialpowers only to a sworn complaintltY'or anv offense aeainstthe United States...''(3041 in
part,opening sentence),then magically,dcharges'were taken before a Grand Jury,in violation of
                                                 7
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 ArticleI1I'sConstitutionalilcase orControversy''requirem ents.And thus,United StatesAttom ey Jack

 Sm ith,som ehow did obtain an indictm entin directnon-com pliance ofArticle II1principles,as lim ited

 in the governance's by the Rules of Criminal Procedtlre - backed by Congressional legislatures -

 approved by the Suprem e Court.Remarkable to say the least.Criminally Com zpt, to tellthe truth.

 SincetheUnited Stateswas/isbound to invokethe courtsauthority lawfully,then therecordsreveal
 thatthisGrand Jury wasillegally convened.W hy?TheUnited Sites, neveralleged any injury to a
 U.S.legalright. Instead Jack Smith allegesGpotentialfutureâlrzzlx
                                                                 ç'(hypotheticalstanding)ifsuch
 documentswereto fallintothewrong hands.(ThesnmecouldbesaidaboutDonald J.Tnlmp'smind
 and Joseph R.Bidens forsure) In summary,the United States- norany ofit's agencies- ever
 lresentedalegalclaim,asrequiredbytherigidruleoflaw.Thisreeksofactivistjudging.
       The Grand Jury ttdrawn''againstTRUM P,islacking any justiciablebasisto bring forward a
 federalsuitby theUnited States.How and why Grand Jury'sweredrawn overmultiplem onthswithout

justiciability,points clearly to abuse ofpower. (1) Hnrm isthe required basis,forwlzich to seek
 redress/relieffor. (2)Connection to criminally prohibited actions- causing the alleged,identitied
 concreteharm -providesthenextavailableelement:(3),theredress.These(3)requirementsmakeup
 theelementtesfofGûstandinf',asnecessaryinany federalcourtoflaw. Suchprinclpleisasoldasthe
 Biblez/.
        j'ef/J Rule6(b)(1)and (2)allowsforthechallenge(by defendant)anddisposalauthoritytbythe
 Courtl.Thishasneverbeen challengedbefore.Article111,sec.,2.cl,1,isthesotlrceof Competepcy
 for any District Court. The Executive Branch of Governm ent,underA/USA Jack Sm ith, clearly

 violatedthelaw.And thiscourtisratifying such actions.

       W hile Rule 6 isthe Indictmentrule,Rule's 1- 5.1 govem the aceessto the FederalCourtand

 itsjudicialpower. Rule3 requiresthattheGovernmentagentseekingto arrestany individual,make
 complaint(legalclaim)ofiGAny offense Iinjury to legalrightlagainsttheUnited States...''(3041's
 opening linerbracketed textaddedj).Rulesoflaw are designed to protectadefendantsDue Process
                                                  8
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 rights.(18U.S.C.3001and Mirandaconfirm this,along with Rules1-2 oftheFederalCriminalRules
 of Procedure). Go ecency.Security and Libertv alike demarld that Govenamentoffcials shallbe
 subiected to the snme (384 US 480) rules of conduct that are commands to the citizen. In a
 Oovernmentoflawsthe existence ofthe Governm entwillbe im periled ifitfailsto observe the Laws
                                 -




 scrupulouslv''and Gllfthe Governmentbecomes a 1aw breaker,itbreeds contemptfor law ;itinvites

 everymantobecomeà.1aw tmto himself;itinvitesanarchy'',(citingJusticeBrandeis). A federalsuit
 in 1aw muststartwith an actual,concrete injury to a ionstitutionally,legally created and protected
 right(overthesecuritvofnationaldoctlments).No such injtuy waseverclaimedby thegovernment.
 This Courtlacks in Jurisdiction atthe indic% ent stage - and a1lstages thereafter.Accordingly,the

 indictmentshouldbedismissedtmderthebasisofjtlrisdictionalabsence.Anylndictmentts),oiders,or
 J
 ludgments issued on such an Indictment are in fact, légally null.VOID f'
                                                                        rom inception. The
 g
 1overnmentalso could/did notestablish theelementsofmensreato bring aRule 3 complaint(much
 lessanindictment)againstDonaldJ.Tnzmp.ThegovernmentsefortstocdminalizeTRUM P,is itplain
 I                                                                                                   .

 Error''andRule52(b)appliestl8USC 3041and28USC 2111govens.Herethegovernmentexceeded
 2
 1tsconstitutionalauthorityandbastardizedthelimitedjudsdiction oftheFederalCourtsin violationof
 ArticleIllandArticleVIlçsupremacy''and lGoath ofOffice''Protections''.

        M oreover,the governm entheld no legalrightto exercise Meneralpolicepoweroverthe actions
                                                                  -




 of PresidentialDiscretion aForded to TRUM P or any President.Even Joseph R.Biden. This fact

 completelynegatesanyjusticiablestandingthegovernmentprosecutionbelievestheymighthave.
                                          RU LE OF LAW

 !
 .      18 U.S.C.3001 legislature (driven by Rules 1-2 ofF.R.CI'
                                                               M .P.)requiresthatthe Rulesof
 frocedure shallgovern the process.Asnoted above,Rule 3 isnecessary to thecorrectand lawfully
 procured reliance on Federal Judicialpower. 18 U .S.C.3041 by way of invocation,allows for the

 arrestand detention,pendingtdal,SlF'
                                    orany offenseagainsttheUnitedStates..''(3041).Yetinthissuit,
                                                 9
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 there is no invocation of such authority.In factt in the indictm entand arreststages,there is never

 mention ofany claim -(injury)-bytheU.S.Govt.,tobringforward alawsuit.Thereisnotonelegal
 basisnoted which allowsforgovernmentRedressto be awarded.W ithoutharmts),whatdnmage is
 being rem edied? Suprem acy oflaw within Article VI,cl.2,furtherassuresthatprotected rightsare to

 be supreme.Thiscourtfailed to uphold clause 2,and its Oath ofOffice underclause 3.YourHonor,

 thiscourtis'Duty boundto ds...supportthisConstitution..''tArt.VIGoath Clause'') Recordsreveal
 the court's faillzre to provide Donald J.Tnlm p,such suprem e asstlrances. These caused Donald J.

 Trump,,substantiverightsviolations,and illegalarresting.

          AstheGrandjury,(anArticle1Ilfunction)wasneverlawfullydrawn,thenthelndictmentitself
 lacks the Constitutionalauthority necessary tmder due processprotections.M oreover,ptlrsuantto the

 5thAmend,due process and 14thAmendm entcovenantof equalprotection tmderthe law,the Grand

 Jury,prosecution,and thiscourtaresubjectto a challengewith respectto whetherstanding,factually
 hasbeen detennined. Given the civilpublic interestnature ofthe Grand Jury,CivilLawsand nzles

 apply in asm uch ascrim inallawsand rulesin regardsto the establishmentofstanding.Therefore,the

 SupremeCourtsprecedentialrulingson standing apply.Even in cdminalprocess.(see:FrnnkAmodeo,
 v.U nited States,11thCir2019

          AsFederalDistrictCourts are courts oflimited judsdiction,<tdefined (within constitutional
 botmds)by federalstamte. See,e.g.,Kokkonen v.Guardian Life lns.Co.ofAmerica,511U.S.375
 377, 114 State Court 1673, 128 I.Ed.2d 391 (1994) Badgerow v.W alters,212 L.Ed.2d 355,
     US      than the constdctions of those botm daries shall rem ain concretely and constitm ionally

 àuprem e in nattzre, for the Character ofany suitatlaw involvesthe m ostbasic prem ise of legalharm ,
 l
 I

 tGthecharacterofthecontroversiesoverwhichfederaljudicialauthoritymay extend''. InstlranceCorp.
 of lreland v.Com paenie desB auxites de Guinee,456 U .S.694,701,102 C .Ct.2099,72 L.Ed.2d 492

 (1982)(citing Home DepotofU.S.A.v.Jackson,204 L.Ed.2d 34 (2021) shallbe lim ited by the
                                                  10
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 legislatureitself.Thepurposeofsucàlimitation,istoavoidNationalpolicepowers.AsChiefJustice
 M arshallexplained,tçthe governm entm ay,legitim ately,punish any violation ofitslaw s''as a necessary

 and propermeansforcarrying into execution Congress'enum erated power. ltM ccullock v.M aryland,

 4 W heat,316 416 4 L.Ed.57941819),yetitmay only do so,when such police action isprotecting
 another governmentright,which hasbeen trnm pled upon. Forifthese Gtlim itationsare notrespected,

 Concresswillaccumulatethe ceneralpolice powerthatthe Constimtion withholds''. Taylorv.United

 States,195 L.Ed.217456.ForGt-l-he Constimtion'',in short,ûtwithholdsfrom Conzressaplenarvpolice

 Dow er''. See Lopez,supra at566,115 S.Ct.1624,131 L.Ed.217 626;see Article 1,section 8;Amdt.

  j(),,1:

            The Constitution haslong expressly delegated to Congresstheauthority overonly t&fottrspecific

 c'dmes:counterfeiting sectlritiesand coin ofthe United States, Article 1,section 8,c1.6;piraciesand

 f
 2eloi escomm itted on thehi-
                            ch seas'
                                   .Article1'.
                                             '
                                               section 8 c1.10:
                                                              ''
                                                                 ofensesa-cainstthe law ofnations.'' ibid;
                                                                                                       .


 and treason,ArticleIIL section 3,cl.3. Given these limited grantsoffederalpower.itisclearthat
 conMress cannot punish felonies generallv''. Cohens v.Virginia, 6 W heat264,428,5 L.Ed.257

 (1821)(Marshall,C.J.)Asclearly seen,unlesstheUnited StàtesfederalDOJ, hasalegitimate,legally
 grotmded right(toprotect)in the Constitution,itholdsno standing - orbasis- on which to 1ay any
 claim ofçGinjttryinfact''warrantingofacriminalremedy.ûGWehavealwaysrejectedreadings(529US
 61% ofthegland thescopeoffederalpowerthatwouldpennitCongresstoexerciseapolicepower''.
 596-597,andn 6,131L.Ed.217626,151S.Ct.1624 (notingthatthefrstCongressesdid'notenact
 nationwideptmishmentsforcriminalconducttmderthe gj)''.(asrelied onin UnitedStatesv.Monison,
 529USat619)
            ln sllmm aty,national police powers are not the historical tradition of the United States of

 America.ln fact,such concem sw ere the prim ary catalystforthe fonnation ofthe very Urlion itself.

 N ationaltyrants,belong in othercountries,notgoverned by lGw e the people''.
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                DefendantTRUM P wastargeted by Indictment,in whatshowsto be a schem e to defraud the

      courtj,and GEW ethePeople ofthe United States'';this,perpetrated by Jack Sm ith oftheAG'sOffkes.

      Notwithin one single document,does the United Statesallege thatTRUM P was in fact,culpable for

      committing t&...a crim eroffensel azainstthe United States of America...''as required to investigate

      tmder28 U.S.C.533(1)limiting legislamres.Smith doesclaim RoffensesagainstlawsoftheUnited
    ' Stateso,tl8 USC 3231) however. Further in the fling of indictm ent,A/USA Jack Smith clearly
      violated his lim iting governance, which restrains his oG ce to an Obligatory Duty to ONLY
'     t&
            prosecute fora1loffensesagainstthe United States...''(547(1) ofsame Title). Accordingly,the
          ...



      ùnited States prosecution is evidenced to have engaged in unauthorized - and whatshowsto be
      malicious- prosecutorialm isconductsand abusesofExecutiveand Judicialpower.
      '
      l
      .     Rule 6(e)(7) ironically provides forpunishing any A/USA for ddcontempt ofcourt''in the
      i                                                                            uu           jj
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       L.
        .knowi
             ng violation o fRu l
                                e  6''
                                     . W hy i
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                                               hisrel
                                                    eva nt? Accordi
                                                                  ng t
                                                                     o Ru le6(a)(1) W hen t
                                                                                          hepub  o
      1                                                                                  ,, pj
      lnterestsoreuuires,thecourtmustorderthatoneormoregrandjtuiesbesllmmoned.               xjngoonald
      J.Tnlmp'sactions,beforeagrandjuryforum,isaknowingviolationofthisruleduetotheabove.This
      isptmishableby Gtcontemptofcoulf',(Ru1e 6(e)(7).(W hich happensto be Glany offense againstthe           .
      I
      Unitedstates..''ascomml
                            .ttedby Smith)
      '
                Butforthe avoidance'sto Rule ofLaw,PresidentDonald J.Tnzmp,would notbe defending his

      tnnocence againstchargesof ''crimes'',when theUnited StateshasneverrevealedtheExecutiveheld
      â
      I
       ny cognizablelegalrightts)tobring suit- onbehalfofWethePeople- intheflrstinstance.In other
      words,hadA/USA Jack Smith,simply followed Rule's2-5.1(PreliminaryProcedure)than theUnited
      I
      juteswouldbeheldtoprovideproofofarrestingauthority:t'Foranv offenseagainsttheUnited States-
      !
      '
      the offender m ayy...be arrested and imorisoned,orreleased,as the case m ay be fortrialbefore such
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       '
      c
      'ourtofthe U rlited States hascoanizmw e ofthe offense.''Prosecution ofaûûcrime''
                                                                                      tcausingofinjury),
      against the United States,is condition precedential to filing of facts alleging culpability GtFor any
                                              Z                               .
                                                       12
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 oFenseacainsttheUnitedStates...''(3041inpart). Thefataltlaw to thefoundationalchargesarethat
 the Urlited States stood upon the very f'
                                         ragile basis of ççpotentialnational security harm s''. H ow ever,

 thisdoes notprovide any legally cognizable rightto bring suit.Instead,the Attorney forthe United

 States, Jack sm ith took upon himself what am ounted to a plenaly police right,which is Federal

 Nationaloverreach.Unconstim tional,and crim inally illegalitself

        Therefor,since no such constitutionalPlenary Police Power exists within the United States

 Constimtion,thissuitshouldbeDISM ISSED forlackofjurisdiction.18USC 3231doesnotbootstrap
 the D O Jinto A N Y court.

        Rulesofprocedurearem eantto befollowed.W hy elsewould Congressand the Suprem eCourt

 write them ? &t-l-he Suprem e Courtshallhave the powerto prescribe generalrules of practice and

 procedureand rulesofevidenceforcasesin the United Statesdistrictcourts(including proceedings
 beforemagistratesgmagistratejudges)thereog andcourtsofappeals.''(28U.S.C.2072(a)).
        In accordance with Congress'legislature,FederalRulesof Criminalprocedure are active and

 govern ALL rule oflaw. W hen the SpecialProsecutors ox ces avoid Ruleswhich aforded D oxiald J.

 Trump,historical,Constitutionally based protections- DueProcessidentifying Eçtlkule 3)actualharm
 to the United States governments Gtrighttsl''protected under 1aw - an egregious event occurred:
 TRUM PS rightswere abridged/modified illegally--tttb)Such rulesshallnotabridce.enlarze ormodifv

 any substntivericht.''(Ru1e2inpart).TRUM P,holdsConstitutionallyprotectedrights,tmderRule3.
 And since 18 USC 3044 drivesFederalRule 3 ofCriminalProcedure,(asapprovedandprescribeby
 the Supreme CourtoftheUnited States)underCongressionalauthority,with 18U.S.C 3001directing
 itsadherence; the Prosecutorsoffcesignored such nlle oflaw,avoiding this duty to present- by the
 l


 record - any justifiable and constitutionally protected right actually hnnned by TRUM P,and his
 actions. lnstead, the conviction m acllinery w as started against Donald J. Trum p,lacking: tlFor anv



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 oflknse (crime! againstihe Uited States...''(18 USC 3041) ,with Congressional 1aw limiting
 prosecution of.tseeattached2019W hitePaperoutliningthisexactpointoflaw;ExhibitA).
                AsFederalDistrictCourtsareçGcourtsoflimitedjmisdiction tGdefined''(within limited
 Constitutionalboundaries)by theCongress'legislature powers;(jeee.g.,Kokkonenv.Guardiân Life

 lns.Co.ofAmerica,511U.S.375-377,114 S.Ct1673,128 L.Ed.217391(1994),establishmentofan
 Article II1 Constimtionally authorized court- for criminalprocess- begins with invocations of 18
 U .S.C.3041.W hyj
                 . Forifthe Governm entignoresConstitutionallim itations,than itapproached- and

 has sadly achieved - plenary Police powers. To be clear,Gûthe governm entmay,legitim ately,punish

 any violation of its laws''as a necessary and proper means for carrying into execution Ccongress'

 enllm erated power''. However,no enumerated FederalPolice powerexistswith directConstitutional

 grant:

          For tû-f'
                  he Constitutiom ''in short,ççwithholds f'
                                                          rom Conless a plenary police powen'' See
 I          .                          .


 iooez,at566,115S.Cg.1624,131L.Ed.21762 6;seealsoAl't11,Art.VIcl2 and 3 tç-rhge)(federalq
 jovernmentisacknowledged by a1lto be one ofenllmerated powers. The principle.that itcan
 exercise only the pow ers granted to it..is now universally adm itted-'' A j Chief Justice M arshall
 *

 j
 1tated in M ccullock v.M aw land,4 W heat316,4 L.Ed 57? (1819) ..TO uphold the Government%
                             '
     -                                        '
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 '                                                                   .
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 lbntentionsItere,wewouldhavetopileinferenceuponinferenceinazzllaaerthatwouldbidfairto
     -
 c-onvertcongressionalJIl//l/W/J underthe GeneralWelfareClauseto ageneratpolicepowerof the
 sortretained by the States''.

     '          Police power is necessary federally, only when a federally upheld ûtright''has been
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 mpeded;ignored;bypassed;subverted;evaded;ormnnipulated. Then(andonlythen)theUnited
     -
     .

 Statesgovem ment,holdsa legally protected m ight,which isthe key tothecourthousedoors:GûForany
 1
 .
 oFenseagainsttheUrlited States''(3041),ifsuch an offenseacmally even occurred Then- and only
 t                                                                                .




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 then - the U SA isproperto redress it. N o such rightwas eitherinfringed,noralleged to have been

 infringed,by DON ALD J.TRU M P. A gain,thisbegs incredulity.



                                             AR GU M EN T

        Rule 3 (CriminalRules),mandatescompliancewith 18U.S.C.3041.(Instructed in Advisory
 committeecommentalyjUnderRule18,criminalvenueismandatedtoassurecompliancewithArticle
 111. This proves conclusively that Article I11 judicial power, is to ddve a Criminal Process.
 Accordingly,a Etcase''in the constitutionalsense,requires (3)elements So supportEGstanding''.The
 GGirreducible constitutionalminimum ''ofstandinz requires thata ''p/tzfnfff/--z/-çfhave (1).suffered an

 iniurv in fact (2) thatis fairlv traceable to the challenzed conductt?fthe defendant.and (3) thatis

 likelv to be redressedjbv a favorable iudicialdecision.''Spokeo.1nc v.Robbins,578 U.S.330, 136
                                                           -




 S.Ct.1540,1547,194 L.Ed.2d 635 (2016). Asthe record reveals,thiscourtneverexerted power
 legally. To the contrary,itwms illegally ceded. Accordingly,the indictmentnever lawfully entered

 before tlzis court. EG-l-he plaintiff. as the partv invokùw federal ituisdiction. bears the btlrden of

 establishing these elem ents.''Spokeo,136 S.Ct.At 1547. AJUSA Jack Smith abused K d disregarded

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   omplianceby hisfailtlreto obey theruleoflaw,designed to protectagainstjustsuch usup ation..To
 abuse and manipulateafederalGrandjury and federalmagistrateprocess,to bringabouta
                                                                                 'n unlawful
 Indictm ent,targeting for the criminalcharging,an othem ise law abiding Presidenvcitizen upholding
 i
 hisOathofOffice(whichHoldsforalifetimeq defiesnotonlylaw,butreasonitself.
 I      C
 I        oncretenessofinjuryhaslongbeenheldthebulwarkwhichmustbemet.Inordertogopast
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 such threshold,a plaintiffmusthave suFered an injury in fact,and it mustbe particularized and
 concrete.Luianv.DefendersofW ildlife,504U.S.555,560,112 S.Ct.2130,119L.Ed.2d 351(1992).
 Atlinjuryin fact,isan tGinvasionofalecallvorotectedinterestwhichis(a1concreteandoarticularized-
 and(b)actualorimminent.notconjecturalorhvoothetical.''id.
                                                   15
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       çt-f'
           he federalcourts are tmderindependent oblication to exam ine their own itlrisdiction,and
            i
 standinz isoerhapsthe mostim portantofdoctrines.'''FW /PBS.Inc.v.Citv ofDallas,493 U .S.215,

 231,110S.Ct.596,107L.ECI.2d 603(1990)(citationdeleted).
       And so,theUnited Statesprosecution cleady trespassed upon thiscourts forum ,fortheUnited

 States lacked any identifed injury.The United States Attorney Generalis fully culpable for this
 egregious miscarriage ofjustice (28 USC 519).The totalabandonmentof fundamentalprinciples
 occurred:justiciabilitywastrespassed;nolegalhnnnoccurred;noremedy wasdue.M ootnessdoctrine
 applies.DismissalofIndictmentisproper,underRule6(b)(1)and 6(b)(2).
        GGl'
           he nlaintiffas plrfp invokinz federaliurisdiction.bears the burden of establishinz these
 elem ents.''W arth v.Seldin.422 U.S.490.518-95 S.Ct.2197.45L.Ed.2d 343 (1975)(Cited in Spokeo.

 136 S.Ct.At 1547) ln thismatter,theUnited Statesneveronce,established any basisforit'sstanding,
 j                                         '
 âllowing the llnlawful access to a United States Grand Jury.As such,the Grand Jury was illegally
 2
 dyawn againstDONALD J.TRUO .
       N ow how did such action occur? The United States -willingly and knowingly - sim ply laid

 allegationsofçcrime'byDONALD J.TRUM P.Thenecessaryfoundationofthecourtsjudicialpower,
 lsnotevident:çGrolnlv thoseplaintiffswho havebeen concretely hnrmed by thedefendantsstatutory
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 I
 kiolation''and only then m ay the governm entçGsuethatprivatedefendantover'thatviolation in federal

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   oult''Sookeo,at1548.
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 '
        Furthermore,ttw United statesprosecution (asevidencedjviolatedseparationofpowers
 1 hwiples.The cotu'tis forwarding this by providing a trialtesting of m erits, withoutassuring the
 pr
 (                                                                            '
 Plaintiffwas in fact,an injured party.Thus,committing plain errontsee Rule 52(b)) When this
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 '
 grroneously occurs itGiwould allow a federalcotzrtto issue what is an advisory opinion withoutthe

 ability ofany judicialrelief.''Califom ia v.Texas,141 S.Ct.2104,2116,210 L.Ed.2d 230,(2021)
 (quotingLosAngelesv.Lvons,461U.S.95(1983)(M arshal1,J.dissenting).
                                                 16
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        AI',L Federal courts have unflagging obligations to Gnconflrm that the l'
                                                                                urisdictional

 requirements ofArticle I11standing are metbefore proceedinz to the merits ofthe case.''SteelCo.v.

 CitizensforaBetterEnv.,523U.S.83,94-95,118 S.Ct.1003,140L.Ed.2d,(1998).In failingtotake
 such reserve,a fundnmentalmiscarriage ofjustice is occuning.This courthas allowed for the
 ExecutiveBranchto useitasattsuper-legislature''.Adjudicatingpoliticalcontroversyisnotthedomain
 ofthejudicialbranch,yetinstead lieswiththelegislaturebyMstoricaldesign.11rF?haveJ/wœa taken
 thisto mean casesand controversies ofthesorttraditionallvamenableto.and resolved bv.the iudicial

 process.''M uslcratv.United States,supra,356-57,55 Led 46,31 S.Ct.250.(1911).By the plain
 m enning,theprosecution failed to even make an Executive Gcase'.W hy?

        Congressprovideslegislattlre,which iffollowed,strictly lim itsExecutive action.28U .S.C.519

 assm esthisIcase'wasto besupervisedby theAttorney General'soG ce:*G...theAttorney Generalshall
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 ;unervise alllitization to which the United States is a pcrfp, ...... and shalldirect ajj unitod statos
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 At
 I tornevk..in the discharzeoftheirresnective duties.,,W asjtthough?

        28U.S.C.530(C)(b)(4)only authorizesinvestigation funding,(totheFB1) *ê...forthedetection.
 investization.andprosecution ofcrimesagainstthe United States..''tin part).No such crimewasever
 alleged in TRUM P'S Indictments.Thism eans,U.S.Treasury fundsw erespentwithouttheauthority.
 ;
 1
 I
        Furthermo.re,28 U.S.C.53341) limitsthe Attorney General's r.
                                                                   ightto investigation and
 '
 prosecution of crim es only when against the United States. ççThe Attornev General mav qnnoint

 o/-
   /zcftz/uç-(1)todetectandprosecutecrimesagainsttheUnitedStates.''
        And lastly,28 U.S.C.547(1)furtherdriveshomethepointGGExceptasotherwiseprovided bv
 law.each United StatesAttorneu within his district shall--(1)prosecute foralloffenses azainstthe
 1
 -
 United States:''Offenses and Crim es are notsynonymous.No such ofense againstthe United States

 was ever claim ed to have occurred.Therefore, redress w as given to a party lacking in the right to



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 receive any redress for non-existent legal harm . No ttexception as Provided by law''was ever

 introduced,overriding these clearly defm ed detection,investigation and prosecution lim itations.



                                            CON CLU SION

        W hen theConstitm ion isavoided,Rulesofprocedure are ignored,and a Grand Jury isillegally

 accessed withoutMagistrâte screenings (as Congress rules shallhave occurred),the Grand jtlry is
 weapozlized tand criminally)to mnnipulate the rule oflaw asa toolto take down any politicalor
 economic opponent resulting in a miscaniage ofjustice,bringing about the very despotism otlr
 Fotmding Fathersfeared.

        Asthe records in thism atterreveal,the Defendantwasnever accused ofharm ing the United

 Sttesin any mnnnerofriahtprotected tmderthelaw.Instead,theGovernment(asPlainti/ failedto
 adhere to their Constitutionaland Statutory mandates (and comply with FederalRulesof Criminal
 Procedtlre),and did abuse and manipulate a FederalGrand Jtuy and FederalCourtto introduce an
 lm lawfuland ill-gotten indictm entinto an ArticleII1docket.Allin theeflbrtto weaponizethecourtto

 criminalize an otherwise 1aw abiding citizen and imperilhis lawfulbusiness. The Executive Branch

 brokethe1aw and theJudicialBranch hasenabled it.



                                         RELIEF REOUESTED



 12) AMICUS FRANK EDW IN PATE requeststhiscourtGRANT him leave,forafullbriefingto be
 '
 subm itted which willrecomm end thiscotlrtDISM ISS the Indic% entagainstD ONALD J.TRUM P for

 thepup osesofrectifyingthisongoingmiscaniageofjustice.W hileAMICUS isnotapartytothissuit,
 heisequally interested in theseissuesoflaw,duetohisown miscaniageofjustice,inhisunresolved
 and unafsrm ed,evidencelacldng,trialconvictions.(ExhibitB).E1A party may moveto dismissthe
                                                   18
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:    Indictmentbasedonthegroundthatitwasnotlawfully drawn,summoned,orselected.''(Ru1e6(b)(1))
     Further,çtW partvmavmove to dismissthe indictmentbased on an obiection to the xvwn# iurv....unless

     the courthaspreviouslvruledon thesameobiection underRule 6@ 3(13.''



           A11fa aetnlean          bmitted underpenalty ofperjury this28t
                                                                        hday of February 2024 tmder
     the   s'
            .
                     nited Statesof erica.(28U.S.C.17.
                                                     64)


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              ED     PATE
     3 430-408
       ederalPriso Cnmp -LaTuna
     P.O .Box 800
     Anthony,T 88021



      CC : W. Palm Beach 7000 1670 0009 4589 1441

            Supreme .coukt 7000 1670 0009 4589 1410

            Sen . Grassley 7000 1670 0009 4589 1427

            Sen . Durbin       7000 1670 0009 4589 1434

           Mr . Jordan '       7000 1670 0009 4589 1403
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